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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                           Plaintiff,
v.                                                          Case No.: 1:20−cr−00080
                                                            Honorable Gary Feinerman
Carter Brett
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 19, 2021:


        MINUTE entry before the Honorable Gary Feinerman:as to Carter Brett. The
status hearing set for 6/17/2021 [32] is stricken and re−set for 6/18/2021 at 9:45 a.m.
Defendant's presence is waived for the 6/18/2021 status hearing. Attorneys/Parties should
appear for the hearing by calling the Toll−Free Number: (877) 336−1828, Access Code:
4082461. Members of the public and media will be able to call in to listen to this hearing
(use toll free number). Please, please be sure to keep your phone on mute when you are
not speaking. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court.Mailed notice. (jlj, )




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